Case 2:23-cv-01773-MEMF-KES Document 24 Filed 07/03/23 Page 1 of 9 Page ID #:322
                                                                   CLERK, U.S. DISTRICT
                                                                                          COURT


                      UNITED STATES DISTRICT CODRT                        .JUL -~
                 FOR THE CENTRAi, DISTRICT OF CALIFORNIA
                                       ~Ilr                      ''~-tiTRAL DIST          LII
     ARTURO FAVELA-GOMEZ              *       Case No. 2:23-cv      ~~--~`~"`_' ""`r
        -Petitioner-
                                      *        HONORABLE MAGISTRATE JUDGE
              Vs.                     *             RAREN E. SCOTT

     WARDEN, B. BIRRHOLZ              *               June 27,2023
        -Respondent-


       PETITIONER'S OBJECTIONS TO THE REPORT AND RECOMMENDATION
                       TO DISMISS HIS PETITION




        To begin with,...petitioner has not received a copy of the

  Report and Recommendation issued on June 8,2023. Petitioner ---

  received only one copy of the Court Order notifying him that a

  Report and Recommendation on his §2241 have been entered on June 8,

  2023, and there was a due date of July 3,2023 to file any objections

  by for both parties. see attached Court Order. Petitioner is thus

  not aware whether the recommendation is to grant or dismiss his

  X2241 petition. However, petition is hereby respectfully submitting

  this objection assuming the recommendation was for dismissing his

  petition based upon a finding that the sentencing Court for him to

  a supervisor or leader of others in his current drug conviction.

  Assuming, in its reaching this conclusion, the Court appears to --

  have relied upon the presentations of the government in the portion

  of the sentencing transcripts of petitioner. Specifically, the --

  government presented that petitioner is ineligible for First Step

  Act Time Credits under 18 U.S.C.~3632(d)(4)(D)(lxvii), because the

  Court that sentenced him found that he was an organizer or leader




                                       1
Case 2:23-cv-01773-MEMF-KES Document 24 Filed 07/03/23 Page 2 of 9 Page ID #:323


  its worthy to note that petitioner Favela-Gomez is a non-English

  speaking individual. He doesn't understand or speak English at all.

  And he has very limited knowledge of the laws in the United States

  and the federal legal system. Petitioner is now acknowledging that

  his lawyer in the criminal case provided ineffective assistance of

  counsel for failure to object to misinformation or challenge the --

  prosecutor (AUSA) Duston J. Slinkard's inaccurate statements that

  petitioner was a supervisor or leader. And instead, the counsel misled

  him to believe that it didn't have any effect on petitioner's --

  final sentence. Furthermore, AUSA Slinkard's statement that," apply

  a four-level enhancement for leader/organizer, "(ECF 14-3, page 24)"

  does not, and should not present the sentencing Court's findings or

  the judge's words. And a Presentence Report is a mere recommendation

  made by a United States Probation Officer, and its not and it should

  not be a finding of the sentencing Court. In addition, under 18 U.S.C.

  ~3632(d)(4)(D)(lxvii), an inmate is ineligible for FSA ETCs if the

  sentencing Court found that he is a supervisor. And as exhibited in

  the sentencing transcripts of petitioner, no where in the entire --

  transcripts the sentencing judge (Court) mentioned, or indicated, or

  found petitioner as an organizer or supervisor required to make an

  inmate ineligible under §3632(d)(4)(D)(lxvii). The Court never stated

  or mentioned his role as leader, but found that individuals were

  purchasing drugs from petitioner and resale it in retail. see ~ 2.

  Thus, it's just logic,...an individual cannot buy an item from you

  and at the same time resale that item for you. Petitioner has been

  consistent and informed this Court in the statement he made under




                                       3
Case 2:23-cv-01773-MEMF-KES Document 24 Filed 07/03/23 Page 3 of 9 Page ID #:324


  Oath that he was not a leader of anyone, but sold drugs to others.

  In fact, he apologized to the sentencing Court and admitted to selling

  drugs to others. see ECF 14-3, page 27 ("And I apologize for all the

  pain that I've caused ..." "I understand that I need to be punished

  for the sales of drugs that I did but I ask that you have clemency-

  that you have pity on me when you impose the sentence.").

      Indeed, given the totality of the circumstances and the fact the

  sentencing Court did not declare, let alone mention, petitioner as

  a leader or supervisor during his sentencing hearing,..petitioner

  is, indeed, (and should be), eligible for First Step Act Time Credits.


                                    II
                          FINAL DEPORTATION ORDER


  Likewise, petitioner respectfully disagrees that there is a final --

  deportation Order against him.      Specifically, the government appears

  to be relying a stipulated Order of removal of petitioner entered by

  an immigration judge on January 20,2005 for his voluntary departure.

  Petitioner did request for a voluntary departure, of which the ---

  immigration judge granted and he moved back to Mexico in 2005. This

  is not the kind of a final deportation Order the Congress meant under

  18 U.S.C.§3632(d)(4)(E). The Congress could have included a previous

  deportation Order in addition to a final deportation Order, but did

  not,...meaning §3632(d)(4)(E) applies only to a current or a new --

  final deportation Order issued by an immigration Court. Thus, the

  government's attempt is to broaden the statute than what the ---

  Congress meant. Indeed, petitioner don't have a final deportation

  Order against him and thus he is eligible for First Step Act Credits.



                                       n
Case 2:23-cv-01773-MEMF-KES Document 24 Filed 07/03/23 Page 4 of 9 Page ID #:325


                                 CONCLUSION



  Indeed, petitioner has clearly established that the sentencing Court

  or judge did not find his role as a supervisor or organizer, but --

  found several individuals were purchasing drugs that he provided them

  and reselling it at a retail level. see ECF 14-3, page 21. And as well,

  based upon the government's own exhibit, there is no current or new

  final deportation Order of petitioner, other than a previous Order

  of removal pursuant to petitioner's request for voluntary departure

  that was executed on January 20,2005, some eighteen years ago. As --

  previously explained earlier, if Congress intended to include a ---

  previous removal Order in addition to a final deportation Order it

  could have done so, but did not do it,...meaning it meant a new or

  current final deportation Order against a noncitizen serving a federal

  sentence. In fact, a further review of the statute, the Congress ---

  included in a different subsection ineligibility of a noncitizen who

  is serving a sentence of reentry if the previous deportation was a --

  result of an aggravated felony conviction. Thus, this further ---

  confirms the Congress's intent to be a new final deportation Order,

  and not a previous one. Indeed, the Congress knew that circumstances

  of a particular individual may change, for instance, there may have

  been no grounds to justify an individual's withholding of removal

  from the United States previously, however, since then circumstances

  have changed and the immigration Court reconsiders his case and grant

  him relief.


  WHEREFORE, petitioner prays that the Court reconsider its report and
  recommendation, and issue a new report recommending his §2241 be
  GRANTED and immediate release from the BOP custody.
                                                Respectfully Submitted

                                       s       ~~'~~~ ~'~11~~L~'
Case 2:23-cv-01773-MEMF-KES Document 24 Filed 07/03/23 Page 5 of 9 Page ID #:326




                          CERTIFICATE OF SERVICE



  I certify that a true copy of Petitioner's Objections to the Report

  and Recommendation to dismiss his petition has been served on June

  27,2023, to Assistant United States Attorney Brandon E. Martinez-

  Jones at 312 North Spring Street Los Angeles, California 90012.

  I have also prepaid for the postage of this legal document.




                                                  Respectfully Submitted

     June 27,2023
        DATE
                                                ~~~~~~ ~v~~~ G~r~~~
                                                   Arturo Favela-Gomez
                                                   #23521-031
                                                   USP Lompoc
                                                   3901 Klein Boulevard
                                                   Lompoc, CA 93436




                                     1/1
Case 2:23-cv-01773-MEMF-KES Document 24 Filed 07/03/23 Page 6 of 9 Page ID #:327


     MIME-Version:l.0 From:cacd_ecfmail@cacd.uscourts.gov To:ecfnef~a cacd.uscourts.gov
     Message-Id:<35984575@cacd.uscourts.gov>Subject:Activity in Case 2:23-cv-01773-MEMF-KES
     Arturo Favela-Gomez v. B. Birkholz Notice of Report and Recorrunendation Content-Type: textlhtml

      This is an automatic e-snail message generated by the CM/ECF system. Please DO NOT
     RESPOND to this e-mail because the snail box is unattended.
     **"NOTE TO PUBLIC ACCESS DSERS**~ Judicial Conference of the United States policy
     permits attorneys of record and parties in a case (including pro se litigants) to receive one free
     electronic copy of all documents filed electronically, if receipt is required by law or directed by
     the filer. PACER access fees apply to all other users. To avoid later charges, download a copy of
     each document during this first viewing. However,if the referenced document is a transcript, the
     free copy and 30 page limit do not apply.

                                   UNITED STATES DISTRICT COURT

                                CENTRAL DISTRICT OF CALIFORNIA

    Notice of Electronic Filing
    The following transaction was entered on 6/8/20?3 at 4:36 PM PDT and filed on 6/8/2023

      Case Name:              Arturo Favela-Gomez v. B. Birkholz

      Case Number:            2:23-cv-01773-MEMF-KES
      Filer:

      Document Number:        23


    Docket Text:
    NOTICE OF FILING REPORT AND RECOMMENDATION by Magistrate Judge Karen E.
    Scott. Objections to R&R due by 7/3/2023.(jdo)

    2:23-cv-01773-MEMF-KES Notice has been electronically mailed to:
    Brandon E. Martinez-Jones brandon.martinez-Jones@usdoj.gov
    Assistant 2241-194 US Attorney LA-CV caseview.ecf@usdoj.~ov, usacac.habeas@usdoj.gov,
    usacac.civil~a usdoj.gov
    2:23-cv-01773-MEMF-KES Notice has been delivered by First Class U. S. Mail or by other
    means BY THE FILER to
    Arturo Favela-Gomez
    REG. NO. 23521-031
    USP LOMPOC
    3901 KLEIN BOULEVARD
    LOMPOC CA 93436
    US
Case 2:23-cv-01773-MEMF-KES Document 24 Filed 07/03/23 Page 7 of 9 Page ID #:328




                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA


      ARTURO FAVELA-GOMEZ                                    CASE NUMBER:


                                          PETITIONERS)                        2:23-cv-01773-MEMF-KES
             v.




                                       RESPONDENTS)                     NOTICE OF FILING OF
                                                                     MAGISTRATE JUDGE'S REPORT
                                                                       AND RECOMMENDATION



     TO:          All Parties of Record

            You are hereby notified that the Magistrate Judge's Report and Recommendation has
    been filed on June 8. 2023 .

              Any party having Objections to the Report and Recommendation and/or order shall,
    not later than Julv 3. 2023 ,file and serve a written statement of Objections with points and
    authorities in support thereof before the Honorable Magistrate Judge Karen E. Scott . A party
    may respond to another party's Objections within 14 days after being served with a copy of the
    Objections.

             Failure to object within the time limit specified shall be deemed a consent to any
    proposed findings of fact. Upon receipt of Objections and any Response thereto, or upon lapse
    of the time for.filing Objections, the case will be submitted to the District Judge for
    disposition. Following entry of Judgment and/or order, all motions or other matters in the case
    will be considered and determined by the District Judge.

            Parties are advised that, effective December 1, 2009, Rule 11 of the Rules Governing
   Section 2254 Cases was amended. Rule 11 now provides that in habeas corpus matters
   pursuant to 28 U.S.C. § 2254, the District Judge must issue or deny a Certificate of
   Appealability when a final order adverse to the applicant is entered. Parties may wish to take
   this Rule into consideration at the time they file any Objections to the report and
   recommendation.

            The report and recommendation of a Magistrate Judge is not a final appealable order.
   A notice of appeal pursuant to Federal Rules of Appellate Procedure 4(a)(1) should not be filed
   until entry of a judgment and/or order by the District Judge.

                                                         CLERK, UNITED STATES DISTRICT COURT

   Dated: June 8. 2023                                   By: lsl Jazmin Dorado
                                                            Deputy Clerk
   M-51 (12/09)           NOTICE OF FILInG OF MAGISTILATE JUDGE'S REPORT AND RECOMn1ENDATION
                                         CERTIFIED MAIL                     .
                                                                             ~~~, ~ ~        ~
                                                                                                 ~~~:
                                                                                                  ~ - >~;

ARTURO F7IVELA-GOMEZ
#23521-031                                                           ".
UNITED STATES PENITENTIARY           7D22 1670 0001 2784•.2379       ,~.;
                             r_~ _                          -
3901 KLEIN BOULE~:~RD
LON.POC, CA 93436                                                     ~~         , ''~'~"'

                                                                     •"      t




                                       c~23521-031 b
                                             Office Of The Clerk
                                             255 E Temple ST
                                             Room 180
                                             LOS Angeles, CA 90012
                                             U nited States




LEGAL DOCUMENT
                                                                                                      Case 2:23-cv-01773-MEMF-KES Document 24 Filed 07/03/23 Page 8 of 9 Page ID #:329
~•-----   _   __ _




                                          ~c+~o~~oc
                                     3r~' v~J:~RD Ft'JAD
                                     LOF.?:'='~L, C4 93&36
                     ~a~~                 ~-29-Z3
                                                            through ;peciei ;nzdiag
                     The fu:lowin3 utter was procc :aed
                                                     you. The :cttar has been nei[rtes
                     procedures for forwarding to
                                                   wriier raises a question or ^roblem
                     openetl or inspectztl. IF the
                                                          ction, you m.y wish 4~ return
                     over which Nis facility hasjurisdi
                                                            or clarification. If tha vad~zr
                     the material for(urlher inftlrmation                               ~,
                                                      forwarAing W another addre~
                     enclosed correspondence for                  address.
                                                eA to Ne  above
                     please reW m the enclos
                                                                                              Case 2:23-cv-01773-MEMF-KES Document 24 Filed 07/03/23 Page 9 of 9 Page ID #:330
